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                                                                                                                           E-FILED
                                                                                  Friday, 20 December, 2019 11:55:35 AM
                                                                                             Clerk, U.S. District Court, ILCD
                                    UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF ILLINOIS
                                        ROCK ISLAND DIVISION

    CIARA VESEY,                                            )
                                                            )
                   Plaintiff,                               )
                                                            )
    v.                                                      )       Case No. 4:18-cv-04124-SLD-JEH
                                                            )
    ENVOY AIR, INC. d/b/a AMERICAN                          )
    EAGLE AIRLINES, INC.,                                   )
                                                            )
                   Defendant.                               )

                                                       ORDER

         Before the Court is Defendant Envoy Air, Inc.’s (“Envoy”) Motion for Summary

Judgment, ECF No. 52. For the reasons that follow, the motion is GRANTED.

                                                BACKGROUND 1

         Plaintiff Ciara Vesey, an African American woman, began working for Envoy as a

station agent at the Quad Cities International Airport (“MLI”) in July 2012. She was terminated

from her employment on October 27, 2016 after an investigation into allegations that she abused

her travel privileges. In this suit, she primarily alleges that she was terminated in retaliation for




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  At summary judgment, a court “constru[es] the record in the light most favorable to the nonmovant and avoid[s]
the temptation to decide which party’s version of the facts is more likely true.” Payne v. Pauley, 337 F.3d 767, 770
(7th Cir. 2003). The facts related here are, unless otherwise noted, taken from Envoy’s statement of undisputed
material facts, Mot. Summ. J. 2–13; Plaintiff Ciara Vesey’s disputed material facts and additional undisputed
material facts, Resp. Mot. Summ. J. 2–21, ECF No. 58; Envoy’s reply thereto, Reply 1–5, ECF No. 63; and the
exhibits to the filings. In many instances, Vesey attempts to dispute Envoy’s stated facts merely by stating that she
“alleges” that they are “disputed, material fact[s],” see, e.g., Resp. Mot. Summ. J. 10, or that her testimony was
mischaracterized, see, e.g., id. at 5. This is not sufficient. A party must dispute a fact by citing to materials in the
record or by showing that the materials cited do not establish the fact. Fed. R. Civ. P. 56(c)(1); CDIL-LR
7.1(D)(2)(b)(2) (“Each claim of disputed fact must be supported by evidentiary documentation referenced by
specific page.”). Where Vesey fails to properly dispute Envoy’s facts, the Court considers them undisputed for
purposes of the motion. See Fed. R. Civ. P. 56(e)(2). Vesey also indicates that some of her additional material facts
are based “[u]pon information and belief.” See, e.g., Resp. Mot. Summ. J. 19. This is not sufficient to create a
genuine issue of fact at summary judgment, so the Court does not rely on those facts.

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making complaints to human resources and that she was harassed because of her race and in

retaliation for her complaints.

   I.      Vesey’s Complaints

        Vesey made at least three complaints to human resources while employed by Envoy.

First, she complained to human resources in February and March 2016 about favoritism in

scheduling and racial discrimination in training opportunities. A human resources officer

investigated, but found Vesey’s complaints unsubstantiated. Nevertheless, the officer reviewed

Envoy’s policies with management.

        Second, Vesey complained in August 2016 about a racist remark made by a co-worker,

Eric Masengarb. During a conversation in the break room, Masengarb told Vesey to “go back

and pick cotton.” Vesey Dep. 109:9–10, Resp. Mot. Summ. J. Ex. 1, ECF No. 59-1. He had

previously made racist statements and gestures to Vesey, though she did not report them to

management. For instance, when Vesey would “wear [her] hair in two afro puffs, he would grab

them and say, Oh, I like your balls.” Id. at 116:2–4. She asked him if he randomly grabbed

white people’s hair too, and “he just laughed and said, No.” Id. at 116:6. Danielle Griffin, an

Employee Relations Representative, investigated Vesey’s complaint. She interviewed Vesey,

Masengarb, and two other employees who were in the vicinity. She determined that the

complaint was substantiated and Masengarb was terminated.

        Third, sometime in September or October 2016, Vesey complained to human resources

that Carrie McMurray, a lead station agent, was harassing and stalking her by looking at her

travel history. Griffin investigated. She determined that, even if true, McMurray’s conduct

would not constitute harassment or stalking. Vesey claims in this lawsuit that McMurray also




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harassed her by telling other employees that she did not want to work with Vesey and that she

wanted Vesey to be fired.

    II.      Travel Abuse

          Envoy employees enjoy travel benefits, including the ability to fly standby (“non-

revenue”) on any Envoy or American Airlines 2 flight with available seats and an employee

discount on paid tickets. Employees’ use of their travel benefits, however, is regulated by

policies set forth in the Travel Guide. This is available to employees on Envoy’s intranet.

Violations of company policy can be grounds for termination “depending on the severity of the

incident or offense and the employee’s record.” Rules & Regulations 2, Mot. Summ. J. Ex. 4,

ECF No. 52-2 at 4–5. “Abuse of travel privileges will be grounds for dismissal.” Id.

          On September 14, 2016, Ashley Emerick, another station agent at MLI, filed a travel

abuse complaint against Vesey with human resources. The complaint alleged that Vesey had

violated company policy on September 10, 2016. Emerick testified that she filed a complaint

after Teresa White, general manager of Envoy’s MLI station, “brought th[e issue] up” with her.

Emerick Dep. 84:22–23, Mot. Summ. J. Ex. 11, ECF No. 52-2 at 76–84.

          Human resources consultant Irma Stevens received the complaint. White emailed

Stevens on September 22 and October 2, 2016, alleging additional incidents of travel abuse.

Stevens partnered with Valerie Durant, Corporate Security Investigator, to investigate the

allegations. Durant reviewed Vesey’s travel history and her activity in Sabre (the system Envoy

uses to manage passenger flight reservations) and the non-revenue travel planner (the system

employees use to book non-revenue travel). She also interviewed Vesey and another station

agent, Michael Watkins.


2
 Envoy is a wholly owned subsidiary of American Airlines Group. See Our Company, Envoy,
https://www.envoyair.com/our-company/ (last visited Dec. 20, 2019).

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          Durant’s investigation revealed four incidents of Vesey violating company policy.

Durant concluded that Vesey violated company policy in at least three ways: by changing her

own reservations in Sabre, having a friend check her in for a flight instead of having her ticket

reissued, and by putting a hold on a reservation and putting herself on the standby list for the

same flight. Vesey made statements after her interview with Durant to the effect that she had no

prior knowledge that her actions violated company policy. However, in August 2012, Vesey

signed an orientation form in which she agreed to review all information and rules related to

employee travel privileges and to abide by such rules. And she testified in her deposition that,

though “no one sat down [with her] and said, Hey, this is how everything work[s]” and she did

not get “formal training on how [sh]e w[as] supposed to use [he]r travel privileges,” Vesey Dep.

23:13–16, she “had an understanding of how [she] was supposed to use [her] benefits,” id. at

23:20–21.

          Durant presented her findings to Stevens. Vesey had a serious disciplinary action in her

history: on November 16, 2014, she received a Career Decision Day (“CDD”) advisory after

driving a jet bridge into an aircraft. She signed a letter of commitment, agreeing to comply with

all company rules and regulations going forward. Stevens testified that a letter of commitment

remains active for two years. Because Vesey had an active CDD at the time of the travel abuse

investigation and the investigation revealed multiple policy violations, Stevens recommended

termination. A committee consisting of Envoy’s in-house attorney, a human resources vice

president, and a finance vice president approved the termination.

   III.      Procedural History

          Vesey filed charges with the Illinois Department of Human Rights, alleging that she was

subjected to harassment, discrimination, and retaliation. After receiving notice of her right to



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bring suit, Vesey filed the instant lawsuit. Compl., ECF No. 1. Her complaint has six counts: I)

retaliation in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e–2000e-

17; II) retaliation in violation of the Illinois Human Rights Act (“IHRA”), 775 ILCS 5/1-101–

5/10-104; III) harassment on the basis of race or color in violation of Title VII; IV) harassment

on the basis of race or color in violation of the IHRA; 3 V) negligent infliction of emotional

distress; and VI) intentional infliction of emotional distress. Envoy moves for summary

judgment on all claims.

                                                 DISCUSSION

    I.       Legal Standard

         “Summary judgment is the ‘put up or shut up’ moment in a lawsuit.” Siegel v. Shell Oil

Co., 612 F.3d 932, 937 (7th Cir. 2010) (quoting Johnson v. Cambridge Indus., Inc., 325 F.3d

892, 901 (7th Cir. 2003)). It is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). It is also appropriate if the party opposing summary judgment fails to establish a genuine

issue of fact on an element essential to its case and on which that party bears the burden of proof

at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). At the summary judgment stage,

the court’s function is not “to weigh the evidence and determine the truth of the matter[,] but to

determine whether there is a genuine issue for trial”—that is, whether “there is sufficient

evidence favoring the non[-]moving party for a jury to return a verdict” in his favor. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); Patel v. Allstate Ins. Co., 105 F.3d 365, 370 (7th

Cir. 1997). The court must view the evidence “in the light most favorable to the non-moving

party[] and draw[] all reasonable inferences in that party’s favor.” McCann v. Iroquois Mem’l


3
  This count is labeled retaliation, but alleges harassment. See Compl. ¶¶ 82–94. The Court believes the label is a
typographical error.

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Hosp., 622 F.3d 745, 752 (7th Cir. 2010) (citing Anderson, 477 U.S. at 255). “A genuine issue

for trial exists only when a reasonable jury could find for the party opposing the motion based on

the record as a whole.” Pipitone v. United States, 180 F.3d 859, 861 (7th Cir. 1999) (quoting

Roger v. Yellow Freight Sys., Inc., 21 F.3d 146, 149 (7th Cir. 1994)).

   II.       Analysis

             a. Tort Claims

         Envoy argues that Vesey’s tort claims—the negligent infliction of emotional distress and

intentional infliction of emotional distress claims—are preempted. Mot. Summ. J. 24–25. Vesey

makes no argument in response, so the Court deems these claims abandoned. See Palmer v.

Marion County, 327 F.3d 588, 597–98 (7th Cir. 2003) (deeming the plaintiff’s negligence claim

abandoned because he failed to delineate it in his district court brief opposing summary

judgment).

             b. Employment Discrimination Claims

         Vesey brings her retaliation and harassment claims under both Title VII and the IHRA.

The same framework applies to Title VII and IHRA claims, Volling v. Kurtz Paramedic Servs.,

Inc., 840 F.3d 378, 383 (7th Cir. 2016), so the Court analyzes the claims together.

                           1. Retaliation

         Title VII and the IHRA prohibit an employer from discriminating against an employee

for opposing an unlawful employment practice. See 42 U.S.C. § 2000e-3(a); 775 ILCS 5/6-

101(A). “To prevail on a . . . retaliation claim, the plaintiff must prove that (1) he engaged in an

activity protected by the statute; (2) he suffered an adverse employment action; and (3) there is a

causal link between the protected activity and the adverse action.” Lewis v. Wilke, 909 F.3d 858,




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866 (7th Cir. 2018). 4 Envoy concedes, for purposes of summary judgment, that Vesey can prove

that she engaged in protected activity by filing complaints with human resources in February,

March, and August 2016. Mot. Summ. J. 13. Envoy also concedes that her termination qualifies

as an adverse action. Id. But it argues that Vesey cannot establish a genuine issue of fact as to

causation. Id. It argues that she was terminated not in retaliation for filing complaints, but

instead for her travel misconduct. See id. at 14.

         Vesey points to “three pieces of evidence,” which she argues are “sufficient . . . to present

a prima facie case of retaliation”:

         (1) Teresa White communicated constantly with human resources regarding
         [Vesey] immediately after the incident happened with . . . Masengarb; (2) there
         was no actual policy that covered . . . [Vesey’s] alleged[] violat[ions]; and (3)
         White encouraged . . . Emerick to report [Vesey] for travel abuse on a day when
         Emerick was not even working.

Resp. Mot. Summ. J. 22, ECF No. 58. Envoy argues that none of these alleged pieces of

evidence is supported by the evidence cited in Vesey’s response. 5 Reply 6–7, ECF No. 63. The

Court agrees. The evidence presented by Vesey in her response shows only that White emailed

Stevens on two occasions regarding allegations of travel abuse. The evidence does show that

White brought Vesey’s alleged travel abuse to Emerick’s attention. But no cited evidence shows




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  The parties make their arguments in terms of direct and indirect proof, but the Seventh Circuit has abolished this
distinction. Ortiz v. Werner Enters., Inc., 834 F.3d 760, 765 (7th Cir. 2016) (“[W]e hold that district courts must
stop separating ‘direct’ from ‘indirect’ evidence and proceeding as if they were subject to different legal
standards.”). Envoy also makes an argument in terms of an “indirect method.” Mot. Summ. J. 15–17. It appears to
be referring to the McDonnell Douglas burden-shifting framework, which remains a viable method of organizing
and assessing evidence. Ortiz, 834 F.3d at 766. But Vesey does not make an argument through that framework, so
the Court will not address it. Cf. Bagwe v. Sedgwick Claims Mgmt. Servs., Inc., 811 F.3d 866, 880 (7th Cir. 2016)
(suggesting that when a plaintiff does not present his response to a summary judgment motion in McDonnell
Douglas terms, the court need not analyze the case through that framework).
5
  It is not the Court’s responsibility to scour the record to find support for Vesey’s arguments. See Gross v. Town of
Cicero, 619 F.3d 697, 702 (7th Cir. 2010) (“Judges are not like pigs, hunting for truffles buried in the record.”
(quotation marks and brackets omitted)).

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that Emerick was not working on the day she filed the complaint or that she was encouraged to

file the complaint by White.

        Moreover, the Court has no admissible evidence that White had a retaliatory animus, so

even if she had been involved in the termination, her involvement would not prove that Vesey

was terminated in retaliation for filing complaints. 6 Cf. Mot. Summ. J. 18 (“Plaintiff has offered

nothing more than her assumption that the initial report about her suspicious travel activity report

was motivated by retaliation.”). Vesey argues that “[i]t is quite clear that White had

discriminatory animus based upon the fact that she did not want to see . . . Masengarb fired

following [Vesey’s] complaint.” Resp. Mot. Summ. J. 23. But, as Envoy argues, see Reply 6,

the only support Vesey cites—her testimony of what other people told her that White said, see

Resp. Mot. Summ. J. 20 (citing Vesey Dep. 202, 272)—is hearsay. See Fed. R. Civ. P. 801(c)

(defining hearsay as an out-of-court statement offered to prove the truth of the matter asserted).

“A party may not rely upon inadmissible hearsay to oppose a motion for summary judgment.”

Gunville v. Walker, 583 F.3d 979, 985 (7th Cir. 2009); Aida Food & Liquor, Inc. v. City of

Chicago, 439 F.3d 397, 403 (7th Cir. 2006) (“Plaintiffs have produced no evidence of animus,

save Fakhoury’s deposition testimony that many people in the community have told him that

Alderman Thomas has ‘ill will’ toward himself and his store. That testimony is inadmissible

hearsay insufficient to create a genuine issue of fact.”).

        Even if it were admissible, the cited evidence does not necessarily show a retaliatory bias.

The first part of Vesey’s deposition cited is Envoy’s attorney’s recitation of a complaint that

Vesey made that an Envoy employee told her “that his manager had told him that [White] had



6
  Vesey also argues that she can prove retaliation via the cat’s paw theory based on McMurray’s animus. Resp. Mot.
Summ. J. 22–24. But she provides no evidence that McMurray was involved in the travel abuse investigation which
led to her termination, so her animus is irrelevant.

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told the Champaign general manager that [Vesey] had reported her as being prejudice[d].”

Vesey Dep. 202:19–22. All this shows is that White told someone that Vesey reported her. The

second part of the deposition cited is Vesey’s statement that Emerick told her that White “was

involved in these conversations about that [sic] [Vesey] should have been fired, that they were

trying to get [Masengarb] his job back.” Id. at 272:15–18. The Court has no evidence of

White’s part in these conversations and therefore can draw no inference as to her motivation.

         The last argument Vesey makes is that there was no actual policy covering Vesey’s

conduct. Resp. Mot. Summ. J. 22. Presumably, she is attempting to argue that the reason

offered for her termination is pretextual, which could be evidence of retaliation. “Pretext

involves more than just faulty reasoning or mistaken judgment on the part of the employer; it is

[a] lie, specifically a phony reason for some action.” Argyropoulos v. City of Alton, 539 F.3d

724, 736 (7th Cir. 2008) (quotation marks omitted). The argument that there was no policy

covering Vesey’s conduct is undeveloped and, more importantly, belied by the record. The

Travel Guide clearly prohibits employees from changing their own reservations for full-fare

tickets, see Travel Guide 25, Durant Decl. Ex. A, Mot. Summ. J. Ex. 2, ECF No. 52-1 at 79–108,

which Envoy found Vesey did. Vesey also argues that she “disputes all of the alleged instances”

of her abusing her travel privileges and that her violations were serious enough to result in

termination. Resp. Mot. Summ. J. 25. But she points to no evidence to dispute the underlying

facts and makes no specific argument to counter Durant’s conclusion that she violated company

policy. 7 See Siegel, 612 F.3d at 937 (“The nonmoving party must do more than simply show that

there is some metaphysical doubt as to the material facts.”). To the extent she attempts to make a



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  To the extent Vesey argues that she was not able to obtain discovery on relevant issues, the time for such an
argument has passed. Moreover, Rule 56 provides a mechanism for a party to request that a court defer considering
the motion based on its inability to present relevant evidence, but Vesey did not use it. See Fed. R. Civ. P. 56(d)(1).

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comparison to McMurray, arguing that McMurray also violated the travel policies but was not

fired or disciplined, it fails. McMurray said that she used Sabre to access her reservations when

she was flying standby or non-revenue. See McMurray Dep. 42:10–18, Resp. Mot. Summ. J. Ex.

6, ECF No. 59-5. Even if this is a violation of company policy, it is not a violation of the same

policies Vesey violated. And the Court has no information about McMurray’s background or

whether Envoy was aware of these violations, so it can draw no inference from the comparison.

See Reply 9. Vesey has not demonstrated that there is a genuine issue of fact on her retaliatory

termination claims and Envoy is entitled to summary judgment.

                           2. Hostile Work Environment

       To establish a hostile work environment claim, a plaintiff must show that: “(1) he was

subject to unwelcome harassment; (2) the harassment was based on his race; (3) the harassment

was severe or pervasive so as to alter the conditions of the employee’s work environment by

creating a hostile or abusive situation; and (4) there is a basis for employer liability.” Smith v.

Ne. Ill. Univ., 388 F.3d 559, 566 (7th Cir. 2004) (quotation marks omitted). The Seventh Circuit

also recognizes a retaliatory hostile work environment claim, which has the same elements

except that the harassment must be in retaliation for engaging in protected activity. See

Flanagan v. Office of the Chief Judge of the Circuit Court of Cook Cty., 893 F.3d 372, 375 (7th

Cir. 2018). Vesey points to seven incidents or pieces of evidence and argues that, considered

together, she “has presented at least a question of fact of [sic] as to whether [her] work

environment was hostile.” Resp. Mot. Summ. J. 24–25. But she does not differentiate between

incidents that are based on her race versus retaliation. See id. Race discrimination and

retaliation are two different claims, compare 42 U.S.C. § 2000e-2(a) (prohibiting discrimination




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on the basis of race), with id. § 2000e-3(a) (prohibiting retaliation), and she presents no support

for the idea that she can combine incidents to establish one hostile work environment claim.

        Regardless, she has not established a genuine issue of fact as to either claim. Some of her

evidence is not of conduct or harassment she was subjected to, so it is not relevant to whether she

was subjected to a hostile work environment. For instance, Vesey argues that she complained

about White’s poor treatment and her belief that African Americans were not given the same

training opportunities. Resp. Mot. Summ. J. 24–25. An action that Vesey took—complaining—

is not unwelcome harassment by others. To the extent Vesey is attempting to rely on the

underlying poor and unequal treatment of which she complained, she has provided no evidence

that it occurred. Similarly, she argues that she was uncomfortable speaking to management

about issues she was experiencing. Id. at 25. But a feeling is not evidence of unwelcome

harassment.

        Other incidents she points to are unsupported by the record. See Reply 9. For instance,

she argues that White talked about getting her fired. Resp. Mot. Summ. J. 24. The only

evidence Vesey cites for this—that Emerick told Vesey that White was involved in conversations

about Vesey getting fired, see id. at 20 (citing Vesey Dep. 272)—is hearsay and offers no detail

about White’s part in these conversations. See supra Section II(b)(1). Vesey also argues that

White looked into her travel records and had others do the same. Resp. Mot. Summ. J. 24. But

she points to no evidence to support this assertion. 8

        The remaining evidence is the racist comment and gesture made by Masengarb and

McMurray’s refusal to work with Vesey, see id. at 25, which she has suggested was motivated




8
 Vesey cites to her own deposition to support that White looked into her travel history regularly. See Resp. Mot.
Summ. J. 20 (citing Vesey Dep. 180–81). But the cited portion of the deposition does not support that fact.

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by retaliation for reporting Masengarb, see Compl. ¶ 13. 9 Envoy argues that Masengarb’s

conduct was not severe or pervasive. Mot. Summ. J. 19–20. The Court agrees that the comment

and gesture alone are likely insufficiently serious to state a racially hostile work environment.

See Salvadori v. Franklin Sch. Dist., 293 F.3d 989, 997 (7th Cir. 2002) (“The mere utterance of a

racial epithet that engenders offensive feelings does not sufficiently affect the conditions of

employment to create a hostile work environment.”). Regardless, Vesey reported Masengarb’s

conduct and Envoy terminated him. To demonstrate employer liability for co-worker

harassment, a plaintiff must show that her employer “was negligent in discovering or remedying

harassment.” Montgomery v. Am. Airlines, Inc., 626 F.3d 382, 390 (7th Cir. 2010). As Envoy

argues, it remedied any harassment by Masengarb by terminating him, so it cannot be liable for

this harassment. See Reply 9.

        As for the fact that McMurray refused to work with her, the only evidence Vesey cites to

is that McMurray told others she did not want to work with Vesey. Resp. Mot. Summ. J. 5

(citing Vesey Dep. 183–84); see Vesey Dep. 183:14–17 (“Q. What about the harassment? How

was Carrie harassing you? A. Telling other people that she didn’t want to work the same shift if

I was going to be around.”). This is inadmissible hearsay. See Mot. Summ. J. 22. Regardless,

the Court agrees with Envoy that McMurray telling others she did not want to work with Vesey

does not rise to the level of a hostile work environment. See id. at 22–23; cf. McKenzie v.

Milwaukee County, 381 F.3d 619, 624–25 (7th Cir. 2004) (holding that incidents where the

supervisor was rude, standoffish, and unapproachable did not establish an objectively hostile




9
 Vesey states that “McMurray refused to work with [Vesey], which caused her to hurt herself from trying to do the
work of two people.” Resp. Mot. Summ. J. 25. Although unclear, the Court interprets this to mean that Vesey hurt
herself. But no evidence was cited to support this assertion.

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work environment). Vesey has not established a triable issue on her hostile work environment

claims, so Envoy is entitled to summary judgment.

                                         CONCLUSION

       Accordingly, the Motion for Summary Judgment, ECF No. 52, is GRANTED. The Clerk

is directed to enter judgment and close the case.

       Entered this 20th day of December, 2019.

                                                               s/ Sara Darrow
                                                              SARA DARROW
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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